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1                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
2                          EASTERN DIVISION
3
       ZHU ZHAI HOLDINGS, LIMITED, and               ) No. 20 C 4985
4      PETER PUI TAK LEE,                            )
                                                     )
5                               Plaintiffs,          )
                                                     )
6                   v.                               )
                                                     )
7      STEVEN IVANKOVICH,                            ) May 21, 2021
                                                     ) Chicago, Illinois
8                                                    ) 10:35 a.m.
                                Defendant.           ) Telephonic Motion Hearing
9
10                    TRANSCRIPT OF PROCEEDINGS
             BEFORE THE HONORABLE SHARON JOHNSON COLEMAN
11
12     APPEARANCES:
13     For the Plaintiffs:            QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                      865 South Figueroa Street
14                                    Suite 3000
                                      Los Angeles, California 90017
15                                    BY: MR. WILL SEARS
16                                    QUINN EMANUEL URQUHART & SULLIVAN, LLP
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17                                    Suite 900
                                      Washington, DC 20005
18                                    BY: MR. TYLER WHITMER
19     For the Defendant:             KOPECKY SCHUMACHER ROSENBURG, PC
                                      120 North LaSalle Street
20                                    Suite 2000
                                      Chicago, Illinois 60602
21                                    BY: MR. DARYL M. SCHUMACHER
22
23                 TRACEY DANA McCULLOUGH, CSR, RPR
                         Official Court Reporter
24                     219 South Dearborn Street
                                 Room 1232
25                      Chicago, Illinois 60604
                              (312) 435-5570
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1                   THE CLERK: 20 CV 4985, Zhu Zhai Holdings Limited
2      versus Ivankovich.
3                   THE COURT: Good morning. Plaintiff.
4                   MR. SEARS: Good morning, Your Honor. This is Will
5      Sears, Quinn Emanuel for the plaintiff. And I believe Tyler
6      Whitmer and Robert Joynt also from Quinn Emanuel for the
7      plaintiffs are on the line as well.
8                   THE COURT: All right. Each of you I need --
9                   MR. WHITMER: I am, Your Honor.
10                  THE COURT: Yes, each -- each of you for the
11     plaintiffs state your name because we're still remote, and the
12     court reporter needs to hear your voices. Proceed.
13                  MR. WHITMER: Yes. Sorry, Your Honor. This is Tyler
14     Whitmer from Quinn Emanuel for the plaintiffs.
15                  THE COURT: All right. Anyone else?
16                  MR. JOYNT: And this Robert Joynt, Quinn Emanuel, for
17     the plaintiffs, Your Honor.
18                  THE COURT: All right. Thank you very much. Again,
19     thank you for your patience. Anyone on for the defense?
20                  MR. SCHUMACHER: Good morning, Your Honor. Darryl
21     Schumacher. I'm the movant on behalf of defendant Ivankovich,
22     who I believe is also on the line.
23                  THE COURT: All right. And, Mr. Ivankovich, do you
24     want to state your name?
25                  MR. IVANKOVICH: Yes. Steve Ivankovich on the line
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1      as well.
2                   THE COURT: All right. Thank you very much. Go
3      ahead, Mr. Schumacher. I'm sorry. Was there somebody else?
4      All right. Mr. Schumacher, go ahead with your motion.
5                   MR. SCHUMACHER: Thank you, Your Honor. We obviously
6      filed a motion to withdraw as counsel for defendant Steve
7      Ivankovich. The basis for the motion is I'm having difficulty
8      moving things forward, particularly with the vendor in getting
9      the vendor paid to advance discovery. And that's the basis of
10     the motion.
11                  THE COURT: All right.
12                  MR. SCHUMACHER: Mr. Ivankovich is aware. He's on
13     the phone. I don't believe he objects, but he can speak for
14     himself.
15                  THE COURT: Is that correct, Mr. Ivankovich? You
16     have no objection. You understand?
17                  MR. IVANKOVICH: That's correct. I, I -- I don't
18     object.
19                  THE COURT: All right. So you don't object. You're
20     on the phone. You understand your lawyer is now asking to
21     be -- to withdraw from the case. And the Court will grant his
22     motion. So where are we now? Do you intend to have a new
23     lawyer, Mr. Ivankovich, or represent yourself?
24                  MR. IVANKOVICH: Yes, I do -- I do intend to
25     substitute counsel.
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1                   THE COURT: All right. Within what? 30 days?
2                   MR. IVANKOVICH: Within 30 days, correct.
3                   THE COURT: All right. I'm going to give a 30-day
4      date on that from today. Go ahead, Miss Montanez.
5                   THE CLERK: That's June 21st.
6                   THE COURT: All right. June 21st will be a status
7      for your counsel to have filed his or her appearance and be
8      present in court.
9                   MR. IVANKOVICH: Thank you, Your Honor.
10                  THE COURT: And wait. What time again, Yvette?
11                  THE CLERK: 9:15 a.m.
12                  THE COURT: 9:15 on June 21st in the courthouse.
13     Thank you.
14                  MR. SCHUMACHER: Thank you, Your Honor.
15                  THE COURT: Thank you all.
16                               CERTIFICATE
17                  I HEREBY CERTIFY that the foregoing is a true,
18     correct and complete transcript of the proceedings had at the
19     hearing of the aforementioned cause on the day and date hereof.
20
21     /s/TRACEY D. McCULLOUGH                                         May 24, 2021
22     Official Court Reporter                                                Date
       United States District Court
23     Northern District of Illinois
       Eastern Division
24
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